                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:15-CR-121-RJC-DCK

UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
v.                                  )
                                    )                          ORDER
WILLIAM GAVIDIA (13),               )
                                    )
            Defendants.             )
____________________________________)


       THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To Seal”

(Document No. 374) filed July 20, 2015. This motion has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having

carefully considered the motion and the record, and for good cause shown, the undersigned will

grant the motion.

       IT IS, THEREFORE, ORDERED that Defendant’s “Motion To Seal” (Document No.

374) is GRANTED.

       SO ORDERED.



                                       Signed: July 24, 2015




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